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May ‘|E. 2006
UNITED STATES DISTRlCT COURT FOR THE eLEmc, us olsTRleT eouRT
EASTERN D|STR|CT OF
CAL|FORNIA
EASTERN DISTRICT OF CAL[FORNIA __mm_
lMTED STATES OF AMERICA, )
) Case No. CR. S*05-243 WBS
Plaintiff, )
v. ) ORDER FOR RELEASE OF
) PERSON IN CUSTODY
ANGEL L. BREWER )
)
Defendant. )

 

TO: UNITED STATES MARSHAL:
This is to authorize and direct you to release AN§EEL L. BREWER , Case No. QR. S-OS-
M_ , Charge Misprision of a Felony from custody, Subject to the following conditions:
L Release on Personal Recognizance
Bail Posted in the Sum Of' $_
Unsecured Appearance Bond
Appearanee Bond With 10% Deposit

Appearance Bond with Surety

Corporate Surety Bail Bond

_X__ (Other) Seg §§ngjg`tions attached
Issued at §§§Mento,CA on May |§,ZQOG at 9:083.111 .

By /s/

William B. Shubb.
United States Distn`et Judge

 

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SPECIAL CONDITIONS OF RELEASE

RE: Brcwer, Angcl Lelynn
Doc. No. CRS-05-0243-WBS

You shall report to and comply with the rules and regulations of the Pretrial Services
Agency;

You shall report in person to the Pretrial Services Agency on the first working day following
your release from custody;

Ycu are to reside at a location approved by the pretrial services officer and not move or
absent yourself from this residence for more than 24 hours without the prior approval of the
pretrial services ofticer;

You shall be released to the third party custody of your mother, Tanya Brewer;

Your travel is restricted to the Eastern and Northern District of California without the prior
consent cf the pretrial services ocher;

You shall not possess a iirearm, destructive device, or other dangerous weapon; additionally,
you shall provide written proof of divestment of all firearms currently under your ccntrol;

You shall reh-ain from excessive use of alcohol or any use of a narcotic drug or other
controlled substance Without aprescription by a licensed medical practitioner; and you shall
notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
marijuana, prescribed or not, may not be used;

You shall submit to drug or alcohol testing as approved by the pretrial services ofiicer;

You shall seek and/or maintain employment and provide proof cf same as requested by your
pretrial services officer;

You shall participate in a program of medical or psychiatric treatment, including treatment
for drug cr alcohol dependency, as approved by the pretrial services otlicer;

With the assistance of defense counsel, you shall make diligent effort to take care of the two
misdemeanor warrants that are currently outstanding in Massachusetts and appear for any
required court hearings regarding the matter;

You shall not associate or have any contact with co-defendant, Javaris Marquez Tubbs,
during the pendency of this case unless in the presence of defense counsel.

May 1a 2006

